998 F.2d 1009
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Winston LLOYD, Plaintiff-Appellant,v.Richard A. LANHAM, SR., Warren Tilley, Cmorpp;  James Dietz,Captain;  Dawn Lay, Co II;  Charles L. Couch,Lieutenant;  William H. Britton,Defendants-Appellees.
    No. 92-7178.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 23, 1993.Decided:  July 15, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Walter E. Black, Jr., Chief District Judge.  (CA-91-3695-B)
      Winston Lloyd, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Glenn William Bell, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees.
      D.Md.
      AFFIRMED.
      Before HALL and WILLIAMS, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Lloyd Winston appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Lloyd v. Lanham, No. CA-91-3695-B (D. Md. Nov. 10, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    